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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                              Senior District Judge Richard P. Matsch

  Civil Action No. 08-cv-00998-RPM-CBS

  ROBERT SCHLEINING,

         Plaintiff,
  v.

  KNOTT BROTHERS TRUCKING, LLC, a Nebraska limited liability company, and
  KEYES TRUCKING, INC., a Nebraska corporation,

         Defendants.

  ____________________________________________________________________________

                              ORDER FOR DISMISSAL
  ____________________________________________________________________________

         Pursuant to the Stipulated Motion to Dismiss with Prejudice [38], filed on June 3, 2009, it

  is

         ORDERED that this case is dismissed with prejudice, each party to bear their own costs

  and fees.

         Dated: June 4th, 2009



                                       BY THE COURT:

                                       s/Richard P. Matsch

                                       _________________________________
                                       Richard P. Matsch, Senior District Judge
